Fill in this information to identify the case:

            U.S. Outdoor Holding LLC
Debtor Name __________________________________________________________________


                                        District ofDistrict
United States Bankruptcy Court for the: _______     Oregon  of ________

                                                                                                                        Check if this is an
Case number: 20-32571-dwh11
             _________________________
                                                                                                                          amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                October
                      ___________                                                                 Date report filed:     11/23/2020
                                                                                                                        ___________
                                                                                                                        MM / DD / YYYY

                   Retailer
Line of business: ________________________                                                        NAISC code:           ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                            Edward A. Ariniello
                                              ____________________________________________

Original signature of responsible party        /s/ Edward A. Ariniello
                                              ____________________________________________

Printed name of responsible party             Edward A. Ariniello
                                              ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.    Did the business operate during the entire reporting period?                                                       
                                                                                                                             ✔                
    2.    Do you plan to continue to operate the business next month?                                                        
                                                                                                                             ✔                
    3.    Have you paid all of your bills on time?                                                                           
                                                                                                                             ✔                
    4.    Did you pay your employees on time?                                                                                
                                                                                                                             ✔                
    5.    Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                    
    6.    Have you timely filed your tax returns and paid all of your taxes?                                                 
                                                                                                                             ✔                
    7.    Have you timely filed all other required government filings?                                                       
                                                                                                                             ✔                
    8.    Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                    
                                                                                                                                               ✔

    9.    Have you timely paid all of your insurance premiums?                                                               
                                                                                                                             ✔                
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                             
                                                                                                                                     ✔         
    11. Have you sold any assets other than inventory?                                                                              
                                                                                                                                     ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                       
                                                                                                                                     ✔         
    13. Did any insurance company cancel your policy?                                                                               
                                                                                                                                     ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                                      
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                         
                                                                                                                                     ✔         
    16. Has anyone made an investment in your business?                                                                             
                                                                                                                                     ✔         
Official Form 425C                             Monthly Operating Report for Small Business Under Chapter 11                      page 1

                                           Case 20-32571-dwh11               Doc 75       Filed 11/23/20
Debtor Name   U.S. Outdoor Holding LLC
              _______________________________________________________                             20-32571-dwh11
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               313,603.41
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            216,621.95
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          271,745.98
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +      -55,124.03
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                               258,479.38
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                            6,858.97
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2



                                     Case 20-32571-dwh11                Doc 75       Filed 11/23/20
Debtor Name   U.S. Outdoor Holding LLC
              _______________________________________________________                                20-32571-dwh11
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                          29,245.15
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees
                                                                                                                                          13
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          13
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                     4,747.50
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                     5,990.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                1,437.50
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                               1,437.50
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –   $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                                               =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –                             =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                       $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________



Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3



                                     Case 20-32571-dwh11                Doc 75           Filed 11/23/20
Debtor Name   U.S. Outdoor Holding LLC
              _______________________________________________________                             20-32571-dwh11
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4



                                     Case 20-32571-dwh11                Doc 75       Filed 11/23/20
October 31, 2020

425c Monthly Reporting



Notes:

Section 1. Question 5.

626.00 in cash sales receipts deposited in November noted on BS with other monies due



Section 4. Question 25.

Total is Paypal, Merchant Account and Amazon monies due



Section 6. Question 28‐31.

Includes: Bookkeeper, CFO, Merchant Account IT services. Attorney fees not included here as they are a
part of the prepaid professional legal services. See BS



Exceptional Expenses:

Winterstieger equipment service fees of 1373.09 for repair and testing of critical snow sport services
equipment damaged in flood. These services had to be performed after the location move due to the
potential of increasing repair costs. The impact of the loss of sales due to the down time had already
been significant.




                         Case 20-32571-dwh11         Doc 75      Filed 11/23/20
                   KeyBank                                                Business Banking Statement
                   P.O. Box 93885
                   Cleveland, OH 44101-5885
                                                                                     October 31, 2020
                                                                                          page 1 of 4


                                                                                                       3880



       17                  T    908 00000 R EM T1
       U.S. OUTDOOR HOLDING LLC                                                                       Questions or comments?
       OPERATING ACCOUNT                                                                 Call our Key Business Resource Center
       DEBTOR IN POSSESSION                                                                    1-888-KEY4BIZ (1-888-539-4249)
       CASE #20-32571-DWH11
       600 NW 14TH AVE STE 100
       PORTLAND OR 97209-1737




                                         Enroll in Online Banking today at Key.com.
                Access your available accounts, transfer funds and view your transactions right from your PC.




 KeyBank Basic Business Checking                    3880
 U.S. OUTDOOR HOLDING LLC
                                                             Beginning balance 9-30-20                           $247,749.50
 OPERATING ACCOUNT
 DEBTOR IN POSSESSION
                                                             19 Additions                                        +101,739.78
                                                             71 Subtractions                                     -108,603.34
                                                             Net fees and charges                                     -94.00
                                                             Ending balance 10-31-20                             $240,791.94




Additions
                Deposits Date        Serial #       Source
                         10-1                       Internet Trf Fr DDA            5477     3720                   $21,663.85
                         10-2                       Deposit Branch 0367 Oregon                                       1,840.00
                         10-2                       Deposit Branch 0367 Oregon                                      26,334.41
                         10-5                       Waste Mgmt Wm E 8668342080     TX USA                              608.28
                         10-13                      Internet Trf Fr DDA            5477 3720                         9,152.58
                         10-13                      Deposit Branch 0058 Oregon                                           2.00
                         10-13                      Deposit Branch 0058 Oregon                                          15.00
                         10-13                      Deposit Branch 0058 Oregon                                          30.00
                         10-13                      Deposit Branch 0058 Oregon                                          31.00
                         10-13                      Deposit Branch 0058 Oregon                                          67.00
                         10-13                      Deposit Branch 0058 Oregon                                          67.00
                         10-13                      Deposit Branch 0058 Oregon                                          80.00
                         10-13                      Deposit Branch 0058 Oregon                                         100.00
                         10-13                      Deposit Branch 0058 Oregon                                         131.00
                         10-13                      Deposit Branch 0058 Oregon                                         553.00
                         10-13                      Deposit Branch 0058 Oregon                                       1,010.00
                         10-26                      Internet Trf Fr DDA            5477     3720                    39,325.13
                         10-26                      Deposit Branch 0058 Oregon                                         715.66
                         10-29                      Walmart.Com At 800-966-6546   AR USA                                13.87
                                                    Total additions                                               $101,739.78




            3880 - 03720
5528
                                     Case 20-32571-dwh11         Doc 75    Filed 11/23/20
                                                                                Business Banking Statement
                                                                                           October 31, 2020
                                                                                                page 2 of 4



                                                                                                           880



Subtractions
Paper Checks           * check missing from sequence


 Check         Date            Amount       Check              Date             Amount      Check         Date      Amount
  2000         10-20          $2,850.00      2006              10-26              350.00   *2016          10-28       361.74
  2001         10-13           2,077.00     *2008              10-19              318.36    2017          10-29       125.00
  2002         10-8              255.22     *2010              10-16              155.39   *2021          10-30        61.89
  2003         10-7              247.50      2011              10-23              420.00   *27311         10-9        489.40
  2004         10-13             600.00      2012              10-30            1,250.00   *99586978      10-20     1,005.01
  2005         10-19             111.84      2013              10-29              489.40
                                                                                      Paper Checks Paid           $11,167.75

          Withdrawals Date       Serial #           Location
                      10-1                          POS      Mac Office DE 604        Portland OR                     $97.99
                      10-2                          Range Meal Bars Camas           WA USA                             50.39
                      10-2                          Adobe Creative 4085366000 CA USA                                   52.99
                      10-2                          Waste Mgmt Wm E 8668342080 TX USA                                 608.28
                      10-2                          Withdrawal Branch 0058 Oregon                                      60.00
                      10-2                          Direct Withdrawal, Cj Affiliate 8185754753                        859.37
                      10-7                          Ez Publishing*R Tel8774394078 CA USA                              399.00
                      10-8                          Moosejaw        877-666-7352 MI USA                               263.99
                      10-9                          Stamp Connectio Gresham          OR USA                            13.95
                      10-9                          Riskified Inc. 3155334246 NY USA                                  108.52
                      10-13                         Ruffwearinc 5413881821 OR USA                                     100.00
                      10-13                         Chrome Industri 4155031221 OR USA                                 929.95
                      10-13                         Bogs          Glendale     WI USA                               1,902.10
                      10-13                         Craigslist.Org 415-399-5200 CA USA                                 45.00
                      10-13                         Internet Trf To DDA                  5204 3720                 18,765.91
                      10-14                         Eagles Nest Out 8282527808 NC USA                                 363.62
                      10-14                         Sq *Montana Spo Gosq.Com           MA USA                         531.00
                      10-14      2355               Wire Withdrawal Arcteryx         8514                           5,000.00
                      10-15                         Wilco Ecommerce 8003825339 OR USA                                 285.18
                      10-15                         Rite         3202302282 MN USA                                     20.00
                      10-16                         Fred M Fuel #95 Wilsonville OR USA                                 65.30
                      10-16                         Retail Informat Sartell     MN USA                                 20.00
                      10-16                         Walmart.Com 800 800-966-6546 AR USA                                13.87
                      10-19                         Wilco Ecommerce 8003825339 OR USA                                 111.86
                      10-19                         Mailchimp *MO Mailchimp.Com GA USA                                469.00
                      10-19                         Adobe Acropro S 4085366000 CA USA                                  14.99
                      10-19                         Walmart.Com 800 800-966-6546 AR USA                                13.87
                      10-19                         POS      Exa Wm Supercenter         Sherwood OR                   104.22
                      10-20                         Arc'Teryx Equip 866-458-2473 Bc Can                             1,177.76
                      10-20                         Foreign Transaction Fee                                            35.33
                      10-20                         POS      Mac Office DE 604        Portland OR                      24.99
                      10-21                         Retrospec.Com 2137441555 CA USA                                 1,503.00
                      10-21                         The Home Depot Beaverton OR USA                                   348.00
                      10-21                         Direct Withdrawal, U. P. S.      Ups Bill                         501.29
                      10-21                         Direct Withdrawal, U. P. S.      Ups Bill                         726.45
                      10-21                         Direct Withdrawal, U. P. S.      Ups Bill                         749.40
                      10-21                         Direct Withdrawal, Kaiser Permanentinternet                     4,401.02
                      10-22                         Amzn Mktp US*2T Amzn.Com/Bill WA USA                               13.95
                      10-22                         Intuit *Quickbo 833-830-9255 CA USA                               320.48

379681113880 - 03720
5528
                                Case 20-32571-dwh11                    Doc 75    Filed 11/23/20
                                                                        Business Banking Statement
                                                                                   October 31, 2020
                                                                                        page 3 of 4



                                                                                                    3880



Subtractions
(con't)

            Withdrawals Date     Serial #        Location
                        10-22                    Direct Withdrawal, Cj Affiliate 8185754753                        1,079.16
                        10-22                    Direct Withdrawal, Madwire        8557738171                      7,100.10
                        10-23                    Goal Zero Llc 8887946250 UT USA                                     569.74
                        10-23                    Wintersteiger/H Salt Lake Cit UT USA                              1,373.09
                        10-26                    In *Flylow Spor 720-2015758 CO USA                                8,145.77
                        10-26                    Lowa Boots, Llc 2033530116 CT USA                                 2,952.97
                        10-26                    Adobe Acropro S 4085366000 CA USA                                    14.99
                        10-27                    Spy Optic Inc 7604449745 CA USA                                   2,714.95
                        10-27                    Internet Trf To DDA                5204 3720                     18,552.90
                        10-28                    Adobe Creative 4085366000 CA USA                                     52.99
                        10-28                    Pearl Hardware Portland        OR USA                                44.96
                        10-28                    Direct Withdrawal, U. P. S.      Ups Bill                           582.06
                        10-28                    Direct Withdrawal, U. P. S.      Ups Bill                         1,031.01
                        10-30                    Amazon.Com*280J Amzn.Com/Bill WA USA                                 75.90
                        10-30    212937          Wire Withdrawal Marker Volkl USA 2116                            12,072.98
                                                 Total subtractions                                             $108,603.34



Stop
payments             Number                    Check Date            Amount                        Issued            Expires
                     0 - 9999999999                                                               10-1-20            4-1-21

                                  All stop payments expire on date shown, unless you notify us.




Fees and
charges          Date                                                              Quantity       Unit Charge
                 10-1-20      Stop Payment Charge                                   1                  34.00        -$34.00
                 10-14-20     Fedwire Service Charge                                1                  30.00         -30.00
                 10-30-20     Fedwire Service Charge                                1                  30.00         -30.00
                 10-30-20     Paper Statement Fee                                   1                   3.00          -3.00
                 10-30-20     Service Charge Waive To Relationship Pricing          1                   3.00          +3.00
                                                Fees and charges assessed this period                               -$94.00




          3880 - 03720
5528
                                 Case 20-32571-dwh11          Doc 75     Filed 11/23/20
                                                                                                                    page 4 of 4
                CUSTOMER ACCOUNT DISCLOSURES
The following disclosures apply only to accounts covered by the Federal Truth-in-Lending
Act or the Federal Electronic Funds Transfer Act, as amended, or similar state laws.
IN CASE OF ERROR OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS:
Call us at the phone number indicated on the first page of this statement, OR write us at                          BALANCING YOUR ACCOUNT
the address listed below, as soon as you can, if you think your statement or receipt is
wrong or if you need more information about a transfer listed on the statement or receipt.
We must hear from you no later than sixty (60) days after we sent you the FIRST statement
                                                                                                  Please examine your statement and paid check information
on which the problem or error appeared.                                                           upon receipt. Erasures, alterations or irregularities should be
      KeyBank
                                                                                                  reported promptly in accordance with your account agreement.
      Customer Disputes                                                                           The suggested steps below will help you balance your account.
      NY-31-55-0228
      555 Patroon Creek Blvd
      Albany, NY 12206                                                                                                    INSTRUCTIONS
           Tell us your name and Account number;
                                                                                                  Œ   Verify and check off in your check register each deposit,
           Describe the error or transfer that you are unsure about, and explain as                  check or other transaction shown on this statement.
            clearly as you can why you believe it is an error or why you need more
            information;                                                                              Enter into your check register and SUBTRACT:
           Tell us the dollar amount of the suspected error.
                                                                                                      Ÿ Checks or other deductions shown on our statement that
If you tell us orally, we may require that you send us your complaint or question in writing            you have not already entered.
within ten (10) business days.
                                                                                                      Ÿ The “Service charges”, if any, shown on your statement.
We will investigate your complaint and will correct any error promptly. If we take more
than ten (10) business days to do this, we will recredit your account for the amount you
think is in error, so that you will have use of the money during the time it takes us to              Enter into your check register and ADD:
complete our investigation.
                                                                                                      Ÿ Deposits or other credits shown on your statement that
                  COMMON ELECTRONIC TRANSACTION DESCRIPTIONS:                                           you have not already entered.
          XFER TO SAV        -   Transfer to Savings Account                                          Ÿ The “Interest earned” shown on your statement, if any.
          XFER FROM SAV      -   Transfer from Savings Account
          XFER TO CKG        -   Transfer to Checking Account
          XFER FROM CKG      -   Transfer from Checking Account
          PMT TO CR CARD     -   Payment to Credit Card                                              List from your check            List any deposits from
          ADV CR CARD        -   Advance from Credit Card                                             register any checks or           your check register that
Preauthorized Credits: If you have arranged to have direct deposits made to your                      other deductions that            are not shown on your
Account at least once every sixty (60) days from the same person or company, you can                  are not shown on your            statement.
call us at the number indicated on the reverse side to find out whether or not the deposit
has been made.                                                                                        statement.
                      IMPORTANT LINE OF CREDIT INFORMATION                                          Check #         Amount            Date          Amount
What To Do If You Think You Find A Mistake on Your Statement: If you think there is                 or Date
an error on your statement, write us at: KeyBank N.A., P.O Box 93885, Cleveland, OH
44101- 4825.
In your letter, give us the following information:
           Account Information : Your name and account number.
           Dollar Amount : The dollar amount of the suspected error.
           Description of the Problem : If you think there is an error on your bill, describe
            what you believe is wrong and why you believe it was a mistake.                                                       TOTAL è $
You must contact us within 60 days after the error appeared on your statement. You must
notify us of any potential errors in writing. You may call us, but if you do we are not
required to investigate any potential errors and you may have to pay the amount in
question.                                                                                                                         ‘    Enter ending balance
While we investigate whether or not there has been an error, the following are true:                                                   shown on your
          We cannot try to collect the amount in question, or report you as delinquent on                                             statement.
           that amount.
          The charge in question may remain on your statement, and we may continue to
           charge you interest on that amount. But, if we determine that we made a                                                $
           mistake, you will not have to pay the amount in question or any interest or
           other fees related to that amount.
          While you do not have to pay the amount in question, you are responsible for

     
           the remainder of your balance.
           We can apply any unpaid amount against your credit limit.
                                                                                                                                  ’    Add 5 and 6 and enter
                                                                                                                                       total here.
Expl anation of Finance Charge: Your Finance Charge attributable to interest
(hereinafter referred to as interest) is computed using the Average Daily Balance method.
                                                                                                                                  $
Average Dail y Bal ance method (Bal ance Subject to Interest Rate): Your interest is
computed on all purchases and cash advances (collectively “advances”) from the date
each advance is posted until we receive payment in full (there is no grace period). We
figure the interest on your line of credit by multiplying the daily periodic rate by the                                          “    Enter total from 4.
“Average Daily Balance” of your line of credit (including current transactions) and
multiplying by the number of days in the billing cycle. To get the Average Daily Balance                                          $
we take the beginning balance of your line of credit each day, add any new advances or
debits, and subtract any payments and credits, any non-financed fees and unpaid interest.
This gives us the daily balance. Then we add up all of your daily balances in the billing
cycle and divide this total by the number of days in the billing cycle to get your Average
Daily Balance.                                                                                                                    ”    Subtract 8 from 7 and
CREDIT INFORMATION: If you believe we have reported inaccurate information about
                                                                                                                                       enter difference here.
your account to a credit reporting agency, you may contact the credit reporting agency or
write to us at:                                                                                                                   $
Key Credit Research Department
P.O. Box 94518
Cleveland, Ohio 44101-4518                                                                                                        This amount should agree with
                                                                                                  TOTAL è      $                  your check register balance.
Please include your account number, a copy of your credit report reflecting the inaccurate
information, name, address, city, state, and zip code, and an explanation of why you
believe the information is inaccurate.

               3880 - 03720                          Case 20-32571-dwh11                         Doc 75    Filed 11/23/20
  5528
                  KeyBank                                               Business Banking Statement
                  P.O. Box 93885
                  Cleveland, OH 44101-5885
                                                                                   October 31, 2020
                                                                                        page 1 of 4


                                                                                                     5477



       1                  X    21 00001 R EM T1
       U.S. OUTDOOR HOLDING LLC                                                                     Questions or comments?
       DEBTOR IN POSSESSION                                                            Call our Key Business Resource Center
       CASE #20-32571-DWH11                                                                  1-888-KEY4BIZ (1-888-539-4249)
       600 NW 14TH AVE SUITE 100
       PORTLAND OR 97209-1737




                                        Enroll in Online Banking today at Key.com.
               Access your available accounts, transfer funds and view your transactions right from your PC.




 KeyBank Basic Business Checking                  5477
 U.S. OUTDOOR HOLDING LLC
                                                           Beginning balance 9-30-20                            $27,163.85
 DEBTOR IN POSSESSION
 CASE #20-32571-DWH11
                                                           60 Additions                                         +77,557.36
                                                           10 Subtractions                                      -80,028.60
                                                           Net fees and charges                                      -3.50
                                                           Ending balance 10-31-20                              $24,689.11




Additions
               Deposits Date        Serial #      Source
                        10-1                      Key Merchant Svsdeposit    896168791888                             $80.70
                        10-1                      Key Merchant Svsdeposit    896168790880                           1,676.77
                        10-2                      Key Merchant Svsdeposit    896168791888                             156.01
                        10-2                      Key Merchant Svsdeposit    896168790880                           1,897.50
                        10-5                      Key Merchant Svsdeposit    896168791888                             247.00
                        10-5                      Key Merchant Svsdeposit    896168791888                             507.41
                        10-5                      Key Merchant Svsdeposit    896168791888                             923.86
                        10-5                      Key Merchant Svsdeposit    896168790880                           1,618.95
                        10-5                      Key Merchant Svsdeposit    896168790880                           1,940.97
                        10-5                      Key Merchant Svsdeposit    896168790880                           2,766.01
                        10-6                      Key Merchant Svsdeposit    896168790880                             324.16
                        10-6                      Key Merchant Svsdeposit    896168791888                             327.21
                        10-7                      Key Merchant Svsdeposit    896168791888                             139.97
                        10-7                      Key Merchant Svsdeposit    896168790880                           2,814.33
                        10-8                      Key Merchant Svsdeposit    896168790880                             723.94
                        10-9                      Key Merchant Svsdeposit    896168791888                             165.08
                        10-9                      Key Merchant Svsdeposit    896168790880                           2,229.75
                        10-13                     Key Merchant Svsdeposit    896168791888                             145.27
                        10-13                     Key Merchant Svsdeposit    896168791888                             269.40
                        10-13                     Key Merchant Svsdeposit    896168791888                             384.20




           5477 - 03720
5527
                                    Case 20-32571-dwh11        Doc 75       Filed 11/23/20
                                                               Business Banking Statement
                                                                          October 31, 2020
                                                                               page 2 of 4



                                                                                       477



Additions
(con't)
              Deposits Date    Serial #   Source
                       10-13              Key Merchant Svsdeposit   896168791888                 427.84
                       10-13              Key Merchant Svsdeposit   896168790880               1,568.53
                       10-13              Key Merchant Svsdeposit   896168790880               2,984.99
                       10-13              Key Merchant Svsdeposit   896168790880               3,030.88
                       10-13              Key Merchant Svsdeposit   896168790880               3,044.43
                       10-14              Key Merchant Svsdeposit   896168791888                 366.84
                       10-14              Key Merchant Svsdeposit   896168790880               1,860.03
                       10-15              Key Merchant Svsdeposit   896168791888                 640.00
                       10-15              Key Merchant Svsdeposit   896168790880               1,159.54
                       10-15              Direct Deposit, Madwire      8557738171              7,100.10
                       10-16              Key Merchant Svsdeposit   896168791888                 362.25
                       10-16              Key Merchant Svsdeposit   896168790880               2,191.88
                       10-19              Key Merchant Svsdeposit   896168791888                 139.90
                       10-19              Key Merchant Svsdeposit   896168791888                 238.93
                       10-19              Key Merchant Svsdeposit   896168791888                 239.62
                       10-19              Key Merchant Svsdeposit   896168790880               1,300.43
                       10-19              Key Merchant Svsdeposit   896168790880               2,170.80
                       10-19              Key Merchant Svsdeposit   896168790880               4,117.83
                       10-20              Key Merchant Svsdeposit   896168791888                 741.01
                       10-20              Key Merchant Svsdeposit   896168790880               1,524.34
                       10-21              Key Merchant Svsdeposit   896168791888                 571.20
                       10-21              Key Merchant Svsdeposit   896168790880               1,138.86
                       10-22              Key Merchant Svsdeposit   896168791888                  95.97
                       10-22              Key Merchant Svsdeposit   896168790880                 516.44
                       10-23              Key Merchant Svsdeposit   896168791888                 167.16
                       10-23              Key Merchant Svsdeposit   896168790880                 826.46
                       10-26              Key Merchant Svsdeposit   896168791888                  39.95
                       10-26              Key Merchant Svsdeposit   896168791888                 378.85
                       10-26              Key Merchant Svsdeposit   896168791888               1,138.90
                       10-26              Key Merchant Svsdeposit   896168790880               2,535.07
                       10-26              Key Merchant Svsdeposit   896168790880               3,859.92
                       10-26              Key Merchant Svsdeposit   896168790880               5,015.97
                       10-27              Key Merchant Svsdeposit   896168791888                 699.84
                       10-27              Key Merchant Svsdeposit   896168790880               1,169.78
                       10-28              Key Merchant Svsdeposit   896168791888                 549.25
                       10-28              Key Merchant Svsdeposit   896168790880               1,902.80
                       10-29              Key Merchant Svsdeposit   896168791888                 250.28
                       10-29              Key Merchant Svsdeposit   896168790880               1,224.90
                       10-30              Key Merchant Svsdeposit   896168791888                 462.30
                       10-30              Key Merchant Svsdeposit   896168790880                 464.80
                                          Total additions                                    $77,557.36




          5477 - 03720
5527
                               Case 20-32571-dwh11    Doc 75    Filed 11/23/20
                                                                     Business Banking Statement
                                                                                October 31, 2020
                                                                                     page 3 of 4



                                                                                              5477



Subtractions
Paper Checks            * check missing from sequence


 Check         Date            Amount
 5082          10-15           $500.00
                                                                          Paper Checks Paid                   $500.00

           Withdrawals Date     Serial #         Location
                       10-1                      Key Merchant Svsdiscount 896168790880                          $35.95
                       10-1                      Internet Trf To DDA            3880 3720                    21,663.85
                       10-5                      Key Merchant Svsdiscount 896168791888                           18.62
                       10-5                      Key Merchant Svsfee     896168791888                            48.60
                       10-5                      Key Merchant Svsinterchng 896168791888                         169.22
                       10-5                      Key Merchant Svsdiscount 896168790880                        2,014.55
                       10-7                      Direct Withdrawal, Madwire    8557738171                     7,100.10
                       10-13                     Internet Trf To DDA            3880 3720                     9,152.58
                       10-26                     Internet Trf To DDA            3880 3720                    39,325.13
                                                 Total subtractions                                         $80,028.60



Fees and
charges         Date                                                          Quantity      Unit Charge
                10-30-20    Imaged Items With Statement Charge                    1                  3.50       -$3.50
                10-30-20    Paper Statement Fee                                   1                  3.00        -3.00
                10-30-20    Service Charge Waive To Relationship Pricing          1                  3.00        +3.00
                                              Fees and charges assessed this period                             -$3.50




         5477 - 03720
5527
                                Case 20-32571-dwh11         Doc 75   Filed 11/23/20
                                                                                                                    page 4 of 4
                CUSTOMER ACCOUNT DISCLOSURES
The following disclosures apply only to accounts covered by the Federal Truth-in-Lending
Act or the Federal Electronic Funds Transfer Act, as amended, or similar state laws.
IN CASE OF ERROR OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS:
Call us at the phone number indicated on the first page of this statement, OR write us at                          BALANCING YOUR ACCOUNT
the address listed below, as soon as you can, if you think your statement or receipt is
wrong or if you need more information about a transfer listed on the statement or receipt.
We must hear from you no later than sixty (60) days after we sent you the FIRST statement
                                                                                                  Please examine your statement and paid check information
on which the problem or error appeared.                                                           upon receipt. Erasures, alterations or irregularities should be
      KeyBank
                                                                                                  reported promptly in accordance with your account agreement.
      Customer Disputes                                                                           The suggested steps below will help you balance your account.
      NY-31-55-0228
      555 Patroon Creek Blvd
      Albany, NY 12206                                                                                                    INSTRUCTIONS
           Tell us your name and Account number;
                                                                                                  Œ   Verify and check off in your check register each deposit,
           Describe the error or transfer that you are unsure about, and explain as                  check or other transaction shown on this statement.
            clearly as you can why you believe it is an error or why you need more
            information;                                                                              Enter into your check register and SUBTRACT:
           Tell us the dollar amount of the suspected error.
                                                                                                      Ÿ Checks or other deductions shown on our statement that
If you tell us orally, we may require that you send us your complaint or question in writing            you have not already entered.
within ten (10) business days.
                                                                                                      Ÿ The “Service charges”, if any, shown on your statement.
We will investigate your complaint and will correct any error promptly. If we take more
than ten (10) business days to do this, we will recredit your account for the amount you
think is in error, so that you will have use of the money during the time it takes us to              Enter into your check register and ADD:
complete our investigation.
                                                                                                      Ÿ Deposits or other credits shown on your statement that
                  COMMON ELECTRONIC TRANSACTION DESCRIPTIONS:                                           you have not already entered.
          XFER TO SAV        -   Transfer to Savings Account                                          Ÿ The “Interest earned” shown on your statement, if any.
          XFER FROM SAV      -   Transfer from Savings Account
          XFER TO CKG        -   Transfer to Checking Account
          XFER FROM CKG      -   Transfer from Checking Account
          PMT TO CR CARD     -   Payment to Credit Card                                              List from your check            List any deposits from
          ADV CR CARD        -   Advance from Credit Card                                             register any checks or           your check register that
Preauthorized Credits: If you have arranged to have direct deposits made to your                      other deductions that            are not shown on your
Account at least once every sixty (60) days from the same person or company, you can                  are not shown on your            statement.
call us at the number indicated on the reverse side to find out whether or not the deposit
has been made.                                                                                        statement.
                      IMPORTANT LINE OF CREDIT INFORMATION                                          Check #         Amount            Date          Amount
What To Do If You Think You Find A Mistake on Your Statement: If you think there is                 or Date
an error on your statement, write us at: KeyBank N.A., P.O Box 93885, Cleveland, OH
44101- 4825.
In your letter, give us the following information:
           Account Information : Your name and account number.
           Dollar Amount : The dollar amount of the suspected error.
           Description of the Problem : If you think there is an error on your bill, describe
            what you believe is wrong and why you believe it was a mistake.                                                       TOTAL è $
You must contact us within 60 days after the error appeared on your statement. You must
notify us of any potential errors in writing. You may call us, but if you do we are not
required to investigate any potential errors and you may have to pay the amount in
question.                                                                                                                         ‘    Enter ending balance
While we investigate whether or not there has been an error, the following are true:                                                   shown on your
          We cannot try to collect the amount in question, or report you as delinquent on                                             statement.
           that amount.
          The charge in question may remain on your statement, and we may continue to
           charge you interest on that amount. But, if we determine that we made a                                                $
           mistake, you will not have to pay the amount in question or any interest or
           other fees related to that amount.
          While you do not have to pay the amount in question, you are responsible for

     
           the remainder of your balance.
           We can apply any unpaid amount against your credit limit.
                                                                                                                                  ’    Add 5 and 6 and enter
                                                                                                                                       total here.
Expl anation of Finance Charge: Your Finance Charge attributable to interest
(hereinafter referred to as interest) is computed using the Average Daily Balance method.
                                                                                                                                  $
Average Dail y Bal ance method (Bal ance Subject to Interest Rate): Your interest is
computed on all purchases and cash advances (collectively “advances”) from the date
each advance is posted until we receive payment in full (there is no grace period). We
figure the interest on your line of credit by multiplying the daily periodic rate by the                                          “    Enter total from 4.
“Average Daily Balance” of your line of credit (including current transactions) and
multiplying by the number of days in the billing cycle. To get the Average Daily Balance                                          $
we take the beginning balance of your line of credit each day, add any new advances or
debits, and subtract any payments and credits, any non-financed fees and unpaid interest.
This gives us the daily balance. Then we add up all of your daily balances in the billing
cycle and divide this total by the number of days in the billing cycle to get your Average
Daily Balance.                                                                                                                    ”    Subtract 8 from 7 and
CREDIT INFORMATION: If you believe we have reported inaccurate information about
                                                                                                                                       enter difference here.
your account to a credit reporting agency, you may contact the credit reporting agency or
write to us at:                                                                                                                   $
Key Credit Research Department
P.O. Box 94518
Cleveland, Ohio 44101-4518                                                                                                        This amount should agree with
                                                                                                  TOTAL è      $                  your check register balance.
Please include your account number, a copy of your credit report reflecting the inaccurate
information, name, address, city, state, and zip code, and an explanation of why you
believe the information is inaccurate.

               5477 - 03720                          Case 20-32571-dwh11                         Doc 75    Filed 11/23/20
  5527
Case 20-32571-dwh11   Doc 75   Filed 11/23/20
Case 20-32571-dwh11   Doc 75   Filed 11/23/20
Case 20-32571-dwh11   Doc 75   Filed 11/23/20
Case 20-32571-dwh11   Doc 75   Filed 11/23/20
4:35 PM                                              US Outdoor Holding, LLC
11/01/20                                              Reconciliation Detail
                                        10052 · Key Bank - 5204, Period Ending 10/31/2020

                  Type               Date          Num               Name             Clr     Amount         Balance
           Beginning Balance                                                                                    21,628.29
                   Cleared Transactions
                      Checks and Payments - 39 items
           Paycheck               09/30/2020      3216       Edward A Ariniello       X          -2,107.48       -2,107.48
           Paycheck               09/30/2020      3218       Jaime M. Bitle           X          -1,517.66       -3,625.14
           Paycheck               09/30/2020      3225       Amber J Sinz             X          -1,070.17       -4,695.31
           Paycheck               09/30/2020      3221       Taylor Leng              X            -858.93       -5,554.24
           Paycheck               09/30/2020      3219       Adam K. Covey            X            -779.99       -6,334.23
           Paycheck               09/30/2020      3222       Owen D Loughrin          X            -716.11       -7,050.34
           Paycheck               09/30/2020      3220       Marshall Hilliard        X            -624.39       -7,674.73
           Paycheck               09/30/2020      3215       Carrie M Ariniello       X            -608.51       -8,283.24
           Liability Check        10/01/2020                 Oregon Department ...    X          -1,052.00       -9,335.24
           Liability Check        10/05/2020                 Internal Revenue Se...   X          -3,894.28      -13,229.52
           Liability Check        10/13/2020                 Internal Revenue Se...   X          -3,730.02      -16,959.54
           Paycheck               10/14/2020      3230       Edward A Ariniello       X          -2,107.50      -19,067.04
           Paycheck               10/14/2020      3232       Jaime M. Bitle           X          -1,517.65      -20,584.69
           Paycheck               10/14/2020      3237       Alexander M Martine...   X          -1,199.96      -21,784.65
           Paycheck               10/14/2020      3239       Amber J Sinz             X          -1,099.74      -22,884.39
           Paycheck               10/14/2020      3240       Jamie O Whalen           X          -1,038.57      -23,922.96
           Paycheck               10/14/2020      3228       Scott Albers             X            -881.98      -24,804.94
           Paycheck               10/14/2020      3235       Taylor Leng              X            -856.83      -25,661.77
           Paycheck               10/14/2020      3238       Maxwell Roslow           X            -842.67      -26,504.44
           Paycheck               10/14/2020      3236       Owen D Loughrin          X            -800.45      -27,304.89
           Paycheck               10/14/2020      3231       Helena G Beckham         X            -708.37      -28,013.26
           Paycheck               10/14/2020      3234       Marshall Hilliard        X            -640.14      -28,653.40
           Paycheck               10/14/2020      3229       Carrie M Ariniello       X            -608.51      -29,261.91
           Paycheck               10/14/2020      3233       Adam K. Covey            X            -446.66      -29,708.57
           Check                  10/19/2020      3242       Invesco                  X            -290.98      -29,999.55
           Check                  10/19/2020      3243       Invesco                  X            -170.76      -30,170.31
           Liability Check        10/22/2020                 Oregon Department ...    X          -1,006.00      -31,176.31
           Liability Check        10/23/2020                 Internal Revenue Se...   X          -7,096.05      -38,272.36
           Paycheck               10/28/2020      3261       Edward A Ariniello       X          -2,107.50      -40,379.86
           Paycheck               10/28/2020      3258       Alexander M Martine...   X          -1,199.95      -41,579.81
           Paycheck               10/28/2020      3259       Amber J Sinz             X            -967.22      -42,547.03
           Paycheck               10/28/2020      3268       Scott Albers             X            -877.74      -43,424.77
           Paycheck               10/28/2020      3266       Maxwell Roslow           X            -812.46      -44,237.23
           Paycheck               10/28/2020      3267       Owen D Loughrin          X            -799.52      -45,036.75
           Paycheck               10/28/2020      3257       Adam K. Covey            X            -737.84      -45,774.59
           Paycheck               10/28/2020      3260       Carrie M Ariniello       X            -608.51      -46,383.10
           Liability Check        10/30/2020                 Internal Revenue Se...   X          -3,682.54      -50,065.64
           Liability Check        10/30/2020                 Oregon Department ...    X            -991.00      -51,056.64
           Liability Check        10/30/2020                 Oregon Department ...    X             -83.76      -51,140.40

                   Total Checks and Payments                                                    -51,140.40      -51,140.40

                    Deposits and Credits - 16 items
           General Journal      10/13/2020        Payroll                             X          18,765.91      18,765.91
           Check                10/14/2020        3241       Internal Revenue Se...   X               0.00      18,765.91
           General Journal      10/27/2020        Transfer                            X          18,552.90      37,318.81

                                                                                                                             Page 1


                                     Case 20-32571-dwh11                  Doc 75       Filed 11/23/20
4:35 PM                                               US Outdoor Holding, LLC
11/01/20                                              Reconciliation Detail
                                         10052 · Key Bank - 5204, Period Ending 10/31/2020

                  Type               Date            Num           Name             Clr     Amount          Balance
           Paycheck              10/28/2020      3252      Marshall Hilliard        X                0.00      37,318.81
           Paycheck              10/28/2020      3255      Scott Albers             X                0.00      37,318.81
           Paycheck              10/28/2020      3247      Carrie M Ariniello       X                0.00      37,318.81
           Paycheck              10/28/2020      3256      Taylor Leng              X                0.00      37,318.81
           Paycheck              10/28/2020      3250      Jaime M. Bitle           X                0.00      37,318.81
           Paycheck              10/28/2020      3248      Edward A Ariniello       X                0.00      37,318.81
           Check                 10/28/2020      3244      Adam K. Covey            X                0.00      37,318.81
           Paycheck              10/28/2020      3249      Helena G Beckham         X                0.00      37,318.81
           Paycheck              10/28/2020      3254      Owen D Loughrin          X                0.00      37,318.81
           Paycheck              10/28/2020      3253      Maxwell Roslow           X                0.00      37,318.81
           Paycheck              10/28/2020      3246      Amber J Sinz             X                0.00      37,318.81
           Paycheck              10/28/2020      3245      Alexander M Martine...   X                0.00      37,318.81
           Paycheck              10/28/2020      3251      Jamie O Whalen           X                0.00      37,318.81

                   Total Deposits and Credits                                                  37,318.81       37,318.81

                Total Cleared Transactions                                                    -13,821.59       -13,821.59

           Cleared Balance                                                                    -13,821.59        7,806.70

                Uncleared Transactions
                   Checks and Payments - 5 items
           Paycheck            10/28/2020      3263        Jaime M. Bitle                      -1,517.67        -1,517.67
           Paycheck            10/28/2020      3264        Jamie O Whalen                      -1,118.99        -2,636.66
           Paycheck            10/28/2020      3265        Marshall Hilliard                     -793.75        -3,430.41
           Paycheck            10/28/2020      3269        Taylor Leng                           -732.21        -4,162.62
           Paycheck            10/28/2020      3262        Helena G Beckham                      -331.58        -4,494.20

                   Total Checks and Payments                                                   -4,494.20        -4,494.20

                Total Uncleared Transactions                                                   -4,494.20        -4,494.20

           Register Balance as of 10/31/2020                                                  -18,315.79        3,312.50

                   New Transactions
                      Checks and Payments - 1 item
           Liability Check        11/02/2020               Oregon Department ...               -3,188.88        -3,188.88

                   Total Checks and Payments                                                   -3,188.88        -3,188.88

                Total New Transactions                                                         -3,188.88        -3,188.88

           Ending Balance                                                                     -21,504.67          123.62




                                                                                                                            Page 2


                                     Case 20-32571-dwh11               Doc 75        Filed 11/23/20
2:35 PM                                                 US Outdoor Holding, LLC
11/03/20                                                Reconciliation Detail
                                          10054 · Key Bank - 5477, Period Ending 10/31/2020

                     Type              Date         Num            Name          Clr     Amount         Balance
           Beginning Balance                                                                               27,163.85
                Cleared Transactions
                    Checks and Payments - 12 items
           Check                08/31/2020      5082        Aaric Unverzagt      X            -500.00         -500.00
           General Journal      10/01/2020      Transfer                         X         -21,663.85      -22,163.85
           Check                10/01/2020                  Key Bank             X             -35.95      -22,199.80
           Check                10/05/2020                  Key Bank             X          -2,014.55      -24,214.35
           Check                10/05/2020                  Key Bank             X            -169.22      -24,383.57
           Check                10/05/2020                  Key Bank             X             -48.60      -24,432.17
           Check                10/05/2020                  Key Bank             X             -18.62      -24,450.79
           Check                10/07/2020                  Marketing 360        X          -7,100.10      -31,550.89
           General Journal      10/11/2020      Sweep                            X          -9,152.58      -40,703.47
           General Journal      10/26/2020      Transfer                         X         -39,325.13      -80,028.60
           Check                10/31/2020                  Key Bank             X              -3.50      -80,032.10
           Check                10/31/2020                  Key Bank             X              -3.00      -80,035.10

                      Total Checks and Payments                                            -80,035.10      -80,035.10

                      Deposits and Credits - 61 items
           Deposit                10/01/2020                Key Bank             X              80.70          80.70
           Deposit                10/01/2020                Key Bank             X           1,676.77       1,757.47
           Deposit                10/02/2020                Key Bank             X             156.01       1,913.48
           Deposit                10/02/2020                Key Bank             X           1,897.50       3,810.98
           Deposit                10/05/2020                Key Bank             X             247.00       4,057.98
           Deposit                10/05/2020                Key Bank             X             507.41       4,565.39
           Deposit                10/05/2020                Key Bank             X             923.86       5,489.25
           Deposit                10/05/2020                Key Bank             X           1,618.95       7,108.20
           Deposit                10/05/2020                Key Bank             X           1,940.97       9,049.17
           Deposit                10/05/2020                Key Bank             X           2,766.01      11,815.18
           Deposit                10/06/2020                Key Bank             X             324.16      12,139.34
           Deposit                10/06/2020                Key Bank             X             327.21      12,466.55
           Deposit                10/07/2020                Key Bank             X             139.97      12,606.52
           Deposit                10/07/2020                Key Bank             X           2,814.33      15,420.85
           Deposit                10/08/2020                Key Bank             X             723.94      16,144.79
           Deposit                10/09/2020                Key Bank             X             165.08      16,309.87
           Deposit                10/09/2020                Key Bank             X           2,229.75      18,539.62
           Deposit                10/13/2020                Key Bank             X             145.27      18,684.89
           Deposit                10/13/2020                Key Bank             X             269.40      18,954.29
           Deposit                10/13/2020                Key Bank             X             384.20      19,338.49
           Deposit                10/13/2020                Key Bank             X             427.84      19,766.33
           Deposit                10/13/2020                Key Bank             X           1,568.53      21,334.86
           Deposit                10/13/2020                Key Bank             X           2,984.99      24,319.85
           Deposit                10/13/2020                Key Bank             X           3,030.88      27,350.73
           Deposit                10/13/2020                Key Bank             X           3,044.43      30,395.16
           Deposit                10/14/2020                Key Bank             X             366.84      30,762.00
           Deposit                10/14/2020                Key Bank             X           1,860.03      32,622.03
           Deposit                10/15/2020                Key Bank             X             640.00      33,262.03
           Deposit                10/15/2020                Key Bank             X           1,159.54      34,421.57
           Deposit                10/15/2020                Marketing 360        X           7,100.10      41,521.67

                                                                                                                        Page 1


                                       Case 20-32571-dwh11              Doc 75    Filed 11/23/20
2:35 PM                                             US Outdoor Holding, LLC
11/03/20                                             Reconciliation Detail
                                           10054 · Key Bank - 5477, Period Ending 10/31/2020

                     Type               Date       Num          Name          Clr      Amount         Balance
           Deposit                  10/16/2020            Key Bank            X              362.25      41,883.92
           Deposit                  10/16/2020            Key Bank            X            2,191.88      44,075.80
           Deposit                  10/19/2020            Key Bank            X              139.90      44,215.70
           Deposit                  10/19/2020            Key Bank            X              238.93      44,454.63
           Deposit                  10/19/2020            Key Bank            X              239.62      44,694.25
           Deposit                  10/19/2020            Key Bank            X            1,300.43      45,994.68
           Deposit                  10/19/2020            Key Bank            X            2,170.80      48,165.48
           Deposit                  10/19/2020            Key Bank            X            4,117.83      52,283.31
           Deposit                  10/20/2020            Key Bank            X              741.01      53,024.32
           Deposit                  10/20/2020            Key Bank            X            1,524.34      54,548.66
           Deposit                  10/21/2020            Key Bank            X              571.20      55,119.86
           Deposit                  10/21/2020            Key Bank            X            1,138.86      56,258.72
           Deposit                  10/22/2020            Key Bank            X               95.97      56,354.69
           Deposit                  10/22/2020            Key Bank            X              516.44      56,871.13
           Deposit                  10/23/2020            Key Bank            X              167.16      57,038.29
           Deposit                  10/23/2020            Key Bank            X              826.46      57,864.75
           Deposit                  10/26/2020            Key Bank            X               39.95      57,904.70
           Deposit                  10/26/2020            Key Bank            X              378.85      58,283.55
           Deposit                  10/26/2020            Key Bank            X            1,138.90      59,422.45
           Deposit                  10/26/2020            Key Bank            X            2,535.07      61,957.52
           Deposit                  10/26/2020            Key Bank            X            3,859.92      65,817.44
           Deposit                  10/26/2020            Key Bank            X            5,015.97      70,833.41
           Deposit                  10/27/2020            Key Bank            X              699.84      71,533.25
           Deposit                  10/27/2020            Key Bank            X            1,169.78      72,703.03
           Deposit                  10/28/2020            Key Bank            X              549.25      73,252.28
           Deposit                  10/28/2020            Key Bank            X            1,902.80      75,155.08
           Deposit                  10/29/2020            Key Bank            X              250.28      75,405.36
           Deposit                  10/29/2020            Key Bank            X            1,224.90      76,630.26
           Deposit                  10/30/2020            Key Bank            X              462.30      77,092.56
           Deposit                  10/30/2020            Key Bank            X              464.80      77,557.36
           Deposit                  10/31/2020            Key Bank            X                3.00      77,560.36

                      Total Deposits and Credits                                          77,560.36      77,560.36

                Total Cleared Transactions                                                -2,474.74       -2,474.74

           Cleared Balance                                                                -2,474.74      24,689.11

           Register Balance as of 10/31/2020                                              -2,474.74      24,689.11

           Ending Balance                                                                 -2,474.74      24,689.11




                                                                                                                      Page 2


                                        Case 20-32571-dwh11          Doc 75    Filed 11/23/20
3:50 PM                                       US Outdoor Holding, LLC
11/20/20                                            Balance Sheet
Accrual Basis                                      As of October 31, 2020

                                                                                   Oct 31, 20
                ASSETS
                  Current Assets
                    Checking/Savings
                       10000 · Checking Accounts
                          10038 · Key Bank - 3880                                       229,008.67
                          10052 · Key Bank - 5204                                         4,781.60
                          10054 · Key Bank - 5477                                        24,689.11

                       Total 10000 · Checking Accounts                                           258,479.38

                       10100 · Savings Accounts                                                        1.07

                       10500 · Clearing Accounts                                                  29,245.15

                       10800 · Petty Cash                                                             53.23
                       10810 · Cash Drawer                                                           220.00
                       10880 · Change Fund                                                            60.00

                     Total Checking/Savings                                                      288,058.83

                     Other Current Assets
                       12000 · Undeposited Funds                                                     626.00
                       12100 · Inventory Asset                                                   666,317.87

                       12300 · Prepaid Expenses
                         12314 · PrePaid Legal Fees                                      25,000.00

                       Total 12300 · Prepaid Expenses                                             25,000.00

                       15100 · Security Deposits                                                  50,000.00

                     Total Other Current Assets                                                  741,943.87

                  Total Current Assets                                                          1,030,002.70

                  Fixed Assets
                     15000 · Furniture and Equipment                                                 350.00

                     15500 · Vehicle
                       15570 · Accumulated Depreciation                                 -12,000.00
                       15500 · Vehicle - Other                                           22,500.00

                     Total 15500 · Vehicle                                                        10,500.00

                  Total Fixed Assets                                                              10,850.00

                  Other Assets
                    18000 · Goodwill                                                             661,424.92

                  Total Other Assets                                                             661,424.92


                                                                                                               Page 1


                             Case 20-32571-dwh11              Doc 75        Filed 11/23/20
3:50 PM                                          US Outdoor Holding, LLC
11/20/20                                               Balance Sheet
Accrual Basis                                         As of October 31, 2020

                                                                                       Oct 31, 20
                TOTAL ASSETS                                                                        1,702,277.62

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             20000 · AP (Inventory)                                                 1,038,620.34

                           20100 · AP (Operations)                                                    95,930.71

                        Total Accounts Payable                                                      1,134,551.05

                        Credit Cards
                          20590 · US Bnk CC-9137 Mstr Pymnts Only                                     29,801.23

                           20600 · CC - Office Depot 5942                                                119.98
                           20601 · AMEX                                                               54,867.51

                           20660 · Capital One 5825                                                   26,534.15
                           20675 · Chase 1023                                                         14,731.17

                        Total Credit Cards                                                           126,054.04

                        Other Current Liabilities
                          20680 · National Funding Loans                                              31,058.10

                           20690 · SBA Loans
                             20691 · SBA Loan 71-09                                         266,607.00
                             20692 · SBA EDIL Loan                                           10,000.00
                             26093 · EDIL Loan x1324                                        150,000.00

                           Total 20690 · SBA Loans                                                   426,607.00

                           20700 · Gift Card Liabilities                                             131,242.73

                           20990 · Corporate Tax Liability                                             2,460.00
                           21010 · Payroll Liabilities
                             21100 · Payroll Tax Liabilities
                                21200 · Federal Payroll Liabilities                  118,287.80

                                 21300 · State Payroll Liability                      46,886.14

                              Total 21100 · Payroll Tax Liabilities                         165,173.94

                              21705 · Other Payroll Liabilities                               5,077.56

                           Total 21010 · Payroll Liabilities                                         170,251.50

                        Total Other Current Liabilities                                              761,619.33

                     Total Current Liabilities                                                      2,022,224.42

                                                                                                                   Page 2


                               Case 20-32571-dwh11                    Doc 75   Filed 11/23/20
3:50 PM                                      US Outdoor Holding, LLC
11/20/20                                            Balance Sheet
Accrual Basis                                      As of October 31, 2020

                                                                                    Oct 31, 20
                     Long Term Liabilities
                       28000 · Notes Payable Carrie Ariniello                                       36,318.01
                       29000 · Notes Payable Solomon                                             1,250,000.00
                       29100 · Notes Payable PUNVER                                                150,000.00
                       29200 · Notes Payable AUNVER                                                 50,000.00

                     Total Long Term Liabilities                                                 1,486,318.01

                  Total Liabilities                                                              3,508,542.43

                  Equity
                    31000 · Owners Equity
                       31001 · Note Equity - Prior Period                                101,567.75
                       31600 · Owners Equity - Ed Ariniello
                         31601 · CC - EA Personal 4957                                176.25
                         31602 · CC - EA Personal 7388                                231.03
                         31600 · Owners Equity - Ed Ariniello - Other             637,519.82

                        Total 31600 · Owners Equity - Ed Ariniello                       637,927.10

                        31700 · Owners Equity - A Unverzagt                              168,000.00
                        31701 · Owners Equity - A Pollard                                150,000.00

                     Total 31000 · Owners Equity                                                 1,057,494.85

                     32000 · Retained Earnings                                                 -2,245,002.57
                     Net Income                                                                  -618,757.09

                  Total Equity                                                                 -1,806,264.81

                TOTAL LIABILITIES & EQUITY                                                       1,702,277.62




                                                                                                                Page 3


                              Case 20-32571-dwh11                Doc 75     Filed 11/23/20
3:53 PM                                      US Outdoor Holding, LLC
11/20/20                                             Profit & Loss
Accrual Basis                                            October 2020

                                                                                          Oct 20
                Ordinary Income/Expense
                     Income
                        46000 · Merchandise Sales
                           46100 · In-Store Sales                                             67,093.30
                           46200 · eCommerce Sales
                             46201 · Paypal                                             8,603.26
                             46200 · eCommerce Sales - Other                           11,228.62

                          Total 46200 · eCommerce Sales                                       19,831.88

                          46000 · Merchandise Sales - Other                                          0.00

                       Total 46000 · Merchandise Sales                                                86,925.18

                       48300 · Vendor Discounts Given                                                         0.00

                     Total Income                                                                     86,925.18

                     Cost of Goods Sold
                       50000 · Cost of Goods Sold (Inventory)                                         55,614.82

                       50090 · Inventory - Freight -In                                                      868.44

                       50100 · Cost of Sales
                         50540 · Merchant Account Fees                                         2,747.28
                         50560 · Postage-Freight Out                                           3,199.40
                         50585 · Repair Shop Expenses                                          1,493.95

                       Total 50100 · Cost of Sales                                                     7,440.63

                     Total COGS                                                                       63,923.89

                  Gross Profit                                                                        23,001.29

                     Expense
                       General & Administrative
                         60201 · Automobile Expense                                                 65.30

                          60400 · Bank Service Charges                                             102.83

                          61700 · Computer and Internet Expenses
                            61750 · eComm | Online Services                             3,342.54
                            61700 · Computer and Internet Expenses - Other                456.88

                          Total 61700 · Computer and Internet Expenses                         3,799.42

                          63300 · Liability Insurance                                          2,912.04
                          64900 · Office Supplies
                            64940 · Store Supplies                                        99.75
                            64900 · Office Supplies - Other                              613.97


                                                                                                                     Page 1


                             Case 20-32571-dwh11                Doc 75       Filed 11/23/20
3:53 PM                                       US Outdoor Holding, LLC
11/20/20                                            Profit & Loss
Accrual Basis                                             October 2020

                                                                                      Oct 20
                          Total 64900 · Office Supplies                                        713.72

                          64950 · Software Subscription Expense                                965.44
                          66700 · Professional Fees
                            66720 · Accounting / Bookkeping                         3,345.00
                            66740 · Design Fees                                     2,850.00

                          Total 66700 · Professional Fees                                  6,195.00

                          66850 · Postage - G/A                                                 50.61
                          68900 · Licenses and Fees                                            125.00

                       Total General & Administrative                                             14,929.36

                       Occupancy
                         66300 · Business Tax                                              2,421.72
                         67100 · Rent Expense                                              9,000.00
                         67200 · Repairs and Maintenance                                     633.18
                         68600 · Utilities
                           68601 · Telephone Expense                                 412.24

                          Total 68600 · Utilities                                              412.24

                       Total Occupancy                                                            12,467.14

                       Sales & Marketing
                         60180 · Advertising and Promotion                                   264.99
                         60187 · Marketing/Public Relation                                 7,100.10

                       Total Sales & Marketing                                                     7,365.09

                       60000 · Payroll Expenses
                         60010 · Labor                                                    33,894.39

                          60050 · Federal Payroll Taxes                                    2,474.28
                          60060 · State Payroll Taxes                                        828.14
                          63400 · Worker's Compensation                                     -589.39
                          66400 · Pension Plan                                               489.00
                          66500 · Medical/ Dental Insurance                                4,762.89
                          66550 · Other Employee Benefits                                    700.00
                          66800 · Recruiting Expenses                                         45.00
                          60000 · Payroll Expenses - Other                                    17.85

                       Total 60000 · Payroll Expenses                                             42,622.16

                     Total Expense                                                                77,383.75

                Net Ordinary Income                                                              -54,382.46

                Other Income/Expense
                  Other Expense

                                                                                                              Page 2


                             Case 20-32571-dwh11                Doc 75   Filed 11/23/20
3:53 PM                                      US Outdoor Holding, LLC
11/20/20                                           Profit & Loss
Accrual Basis                                       October 2020

                                                                                Oct 20
                       80000 · Ask My Accountant                                           -149.66

                    Total Other Expense                                                    -149.66

                  Net Other Income                                                          149.66

                Net Income                                                               -54,232.80




                                                                                                      Page 3


                               Case 20-32571-dwh11        Doc 75   Filed 11/23/20
In re U.S. Outdoor Holding LLC;
Bankruptcy Case No. 20-32571-dwh11


                               CERTIFICATE - TRUE COPY

DATE:             November 23, 2020

DOCUMENT:         MONTHLY OPERATING REPORT FOR SMALL BUSINESS UNDER
                  CHAPTER 11

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

U.S. Outdoor Holding LLC
Attn: Edward A. Ariniello
600 NW 14th Ave Ste A
Portland, OR 97209

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to the same at the last known address. Each envelope was
deposited into the postal system at Portland, Oregon, on the below date, postage
prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

Dated: November 23, 2020                VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Christopher N. Coyle
                                           Christopher N. Coyle, OSB #073501
                                           Of Attorneys for Debtor




Page 1 – CERTIFICATE OF SERVICE



                     Case 20-32571-dwh11       Doc 75     Filed 11/23/20
